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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NEW YORK


 AVIVA STAHL,

                               Plaintiff,

          v.                                          No. 19-cv-4142 (BMC)

 FEDERAL BUREAU OF PRISONS, and                       (Cogan, J.)
 DEPARTMENT OF JUSTICE,
                                                      Oral Argument Requested
                               Defendants.


                   NOTICE OF MOTION FOR SUMMARY JUDGMENT

         PLEASE TAKE NOTICE, that, on a date and time to be set by the Court, Plaintiff Aviva

Stahl will cross move for summary judgment pursuant to Fed. R. Civ. P. 56. In support of her

motion, Plaintiff respectfully submits a Memorandum of Law, a Declaration of Betsy Ginsberg

(with Exhibits A and B), a Declaration of Aviva Stahl (with Exhibits A, B, and C), and a

Declaration of Mohammad Salameh.

         PLEASE TAKE FURTHER NOTICE, that pursuant to the schedule endorsed by the

Court on October 25, 2019 (ECF No. 16), Defendants reply in support of their motion is due by

February 24, 2020. Plaintiff requests oral argument on this motion.

Dated:          New York, New York
                February 10, 2020
                                                    /s Betsy Ginsberg
                                                    BETSY GINSBERG
                                                    Director

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